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                : Jake Tapper on Twitter: •Just in: Statement of Nick Sandmann, Covington Catholic High School junior, about the event at the Lincoln Mem .•.




                             Statement of Nick Sandmann, Covington Catholic High School Junior. Regndlng Incident at the Lincoln
                                                                       Memorial

                             I am providing this factual account of what happened on Friday afternoon at the Uncoln Memorial to
                             correct misinformation and outright lies being spread about my family and me.

                             I am the student in the video who was confronted by the Native American protestor. I arrived at the
                             lincoln Memorial at 4:30 p.m. I was told to be there by 5:30 p.m., when our busses were due to leave
                             Washington for the trip back to Kentucky. We had been attending the March for Ufe rally, and then had
                             split up into small groups to do sightseeing.

                             When we arrived, we noticed four African American protestors who were also on the steps of the
                             lincoln Memorial. I am not sure what they were protesting, and I did not interact with them. I did hear
                             them direct derogatory insults at our school group.

                             The protestors said hateful things. They called us "racists," "bigots," Uwhite crackers," Nfaggots," and
                             Nincest kids." They also taunted an African American student from my school by telling him that we
                             would "harvest his organs." I have no idea what that insult means, but it was startling to hear.

                             Because we were being loudly attacked and taunted in public, a student in our group asked one of our
                             teacher chaperones for permission to begin our school spirit chants to counter the hateful things that
                             were being shouted at our group. The chants are commonly used at sporting events. They are all
                             positive in nature and sound like what you would hear at any high school. Our chaperone gave us
                             permission to use our school chants. We would not have done that without obtaining permission from
                             the adults in charge of our group.
                                                                                                                                                       >
                             At no time did I hear any student chant anything other than the school spirit chants. I did not witness or
                             hear any students chant ubuild that wall· or anything hateful or racist at any time. Assertions to the
                             contrary are simply false. Our chants were loud because we wanted to drown out the hateful comments
                             that were being shouted at us by the protestors.

                             After a few minutes of chanting, the Native American protestors, who I hadn't previously noticed,
                             approached our group. The Native American protestors had drums and were accompanied by at least
                             one person with a camera.

                             The protestor everyone has seen in the video began playing his drum as he waded into the crowd, which
                             parted for him. I did not see anyone try to block his path. He locked eyes with me and approached me,
                             coming within inches of my face. He played his drum the entire time he was in my face.

                            I never interacted with this protestor. I did not speak to him. I did not make any hand gestures or other
                            aggressive moves. To be honest,l was startled and confused as to why he had approached me. We had
                            already been yelled at by another group of protestors, and when the second group approached I was
                            worried that a situation was getting out of control where adults were attempting to provoke teenagers.

                            I believed that by remaining motionless and calm, I was helping to diffuse the situation. I realized
                            everyone had cameras and that perhaps a group of adults was trying to provoke a group of teenagers
                            into a larger conflict. I said a silent prayer that the situation would not get out of hand.




                   Jalce Tapper$ @jaketapper . Jan 20
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                              During the period of the drumming, a member of the protestor's entourage began yelling at a fellow
                              student that we "stole our land" and that we should "go back to Europe." I heard one of my fellow
                              students begin to respond. I motioned to my classmate and tried to get him to stop engaging with the
                              protestor, as I was still In the mind set that we needed to calm down tensions.

                              I never felt like I was blocking the Native American protestor. He did not make any attempt to go around
                              me. It was clear to me that he had singled me out for a confrontation, although I am not sure why.

                             The engagement ended when one of our teachers told me the busses had arrived and it was time to go.
                             I obeyed my teacher and simply walked to the busses. At that moment,l thought I had diffused the
                             situation by remaining calm, and I was thankful nothing physical had occurred.

                             I never understood why either of the two groups of protestors were engaging with us, or exactly what
                             they were protesting at the lincoln Memorial. We were simply there to meet a bus, not become central
                             players in a media spectacle. This is the first time in my /ife I've ever encountered any sort of public
                             protest, let alone this kind of confrontation or demonstration.

                             I was not intentionally making faces at the protestor. I did smile at one point because I wanted him to
                             know that I was not going to become angry, intimidated or be provoked into a larger confrontation. I am
                             a faithful Christian and practicing Catholic, and I always try to live up to the ideals my faith teaches me-
                             to remain respectful of others, and to take no action that would lead to conflict or violence.

                             I harbor no ill will for this person. I respect this person's right to protest and engage in free speech
                             activities, and I support his chanting on the steps of the lincoln Memorial any day of the week. I believe
                                                                                                                                                       >
                             he should re·think his tactics of invading the personal space of others, but that is his choice to make.

                             I am being called every name in the book, including a racist, and I will not stand for this mob·like
                             character assassination of my family's name. My parents were not on the trip, and I strive to represent
                             my family in a respectful way in all public settings.

                             I have received physical and death threats via social media, as well as hateful insults. One person
                             threatened to harm me at school, and one person claims to live in my neighborhood. My parents are
                             receiving death and professional threats because of the social media mob that has formed over this
                             issue.

                             I love my school, my teachers and my classmates. I work hard to achieve good grades and to participate
                             in several extracurricular activities. I am mortified that so many people have come to believe something
                             that did not happen - that students from my school were chanting or acting in a racist fashion toward
                             African Americans or Native Americans. I did not do that, do not have hateful feelings in my heart, and
                             did not witness any of my classmates doing that.

                             I cannot speak for everyone, onfyfor myself. But I can tell you my experience with Covington Catholic is
                             that students are respectful of all races and cultures. We also support everyone's right to free speech.
                             I am not going to comment on the words or account of Mr. Phillips, as I don't know him and would not
                             presume to know what is in his heart or mind. Nor am I going to comment further on the other
                             protestors,as I don't know their hearts or minds, either.




                   Jal<e Tapper@ @jaketapper . Jan 20
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                             , have read that Mr. Phillips is a veteran of the United States Marines. I thank him for his service and am
                             grateful to anyone who puts on the uniform to defend our nation. If anyone has earned the right to
                             speak freely, it is a U.S. Marine veteran.

                             I can only speak for myself and what I observed and felt at the time. But I would caution everyone
                             passing judgement based on a few seconds of video to watch the longer video clips that are on the
                             internet, as they show a much different story than is being portrayed by people with agendas.

                             I provided this account of events to the Diocese of Covington so they may know exactly what happened,
                             and I stand ready and willing to cooperate with any investigation they are conducting.

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                             This is the only statement that has been made by rhe Sandmann family. Any comments attributed to any
                             member of the family that is not contained in this document are fabricated. The family will not be
                             answering individual media inquiries.




                   Jake Tapper 0 @jaketapper . Jan 20
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